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 1   Johnathan E. Mansfield, Cal Bar No. 214848
     SCHWABE, WILLIAMSON & WYATT
 2   1211 SW Fifth Avenue
     Suite 1900
 3   Portland, OR 97204
     503.222.9981 (telephone)
 4   503.796.2900 (facsimile)
     jmansfield@schwabe.com
 5
     Ronald M. Wawrzyn, Pro Hac Vice
 6   Matthew M. Wawrzyn, Pro Hac Vice
     Wawrzyn LLC
 7   233 South Wacker Drive
     Willis Tower, 84th Floor
 8   Chicago, IL 60606
     312.283.8330 (telephone)
 9   312.283-8331 (facsimile)
     ron@wawrzynlaw.com
10   matt@wawrzynlaw.com
11   Counsel for Defendants
     ABBYY USA SOFTWARE HOUSE, INC., et
12   al.
13   [Additional attorneys on signature page]
                                 UNITED STATES DISTRICT COURT
14
15                                  NORTHERN DISTRICT OF CALIFORNIA

16                                      SAN FRANCISCO DIVISION

17
     NUANCE COMMUNICATIONS, INC.                   Case No: 3:08-CV-02912 JSW
18
                       Plaintiff,                  [PROPOSED] ORDER GRANTING JOINT
19                                                 STIPULATED MISCELLANEOUS
              v.                                   ADMINISTRATIVE REQUEST RE
20                                                 ENTRY OF EQUIPMENT INTO COURT
     ABBYY USA SOFTWARE HOUSE, INC., et
21   al.
                                                   (Civil L.R. 7-11, 7-12)
                       Defendants.                 Honorable Jeffrey S. White
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28
     [PROPOSED] ORDER GRANTING MISC. ADMIN.
     REQUEST RE ENTRY OF EQUIPMENT
     CASE NO: 3:08-CV-02912 JSW
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 1            PURSUANT TO STIPULATION, IT IS ORDERED that Defendant ABBYY USA
 2   Software House, Inc., plaintiff Nuance Communications, Inc., and Pramel Patel will be allowed
 3   to bring the following equipment into the Court on Tuesday, June 7, 2011, and Tuesday, June 14,
 4   2011:
 5            Equipment:
 6            1.       Laptop computers
 7            2.       Samsung 50" Plasma Display and stand
 8            3.       Three 17" LCD Monitors
 9            4.       Extron 1 in x 6 out VGA DA
10            5.       Inline 6 in x 1 out VGA Switch IN3566
11            6.       Video cables
12            7.       Extension cords
13            8.       Power surge protectors
14            PURSUANT TO STIPULATION, IT IS FURTHER ORDERED that Defendant ABBYY
15   USA Software House, Inc., plaintiff Nuance Communications, Inc., and Pramel Patel will be
16   allowed to enter the courtroom on June 7, 2011 and June 14, 2011 as early as 10:00 am to
17   assemble the aforementioned equipment in advance of the tutorial and hearing.
18
19           June 6, 2011
     Dated: ________________
                                                The Honorable Jeffrey S. White
20                                              United States District Court Judge
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     [PROPOSED] ORDER GRANTING MISC. ADMIN.           -2-
     REQUEST RE ENTRY OF EQUIPMENT
     CASE NO: 3:08-CV-02912 JSW
